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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                     }
               Plaintiff-Respondent           }
                                              }
v.                                            }      CRIMINAL ACTION NO. H-00-30-1
                                              }      CIVIL ACTION NO. H-03-890
JORGE ELIECER CASTRO,                         }
               Defendant-Petitioner           }

                                 MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Jorge Eliecer Castro’s Motion to Vacate, Set Aside

or Correct Sentence filed pursuant to 28 U.S.C. § 2255 (Doc. 270), the United States’ Answer and

Motion to Dismiss (Doc. 273), Petitioner’s Traverse to the United States’ Answer and Motion to

Dismiss (Doc. 274), Petitioner’s Motion Seeking Permission to Supplement Pending § 2255 Motion

to Vacate (Doc. 280), the United States’ Response to Petitioner’s Motion Seeking Permission to

Supplement His Pending Motion to Vacate Sentence under 28 U.S.C. § 2255 (Doc. 283), Petitioner’s

Reply to the Response (Doc. 284), and the Magistrate Judge’s Memorandum and Recommendation

Denying Movant’s § 2255 Motion to Vacate, Set Aside, or Correct Sentence and Motion to

Supplement § 2255 Motion and Granting the United States’s Motion to Dismiss (Doc. 285).

       In his Motion to Supplement Petition, petitioner requests that he be allowed to argue through

his § 2255 motion that the holding in Blakely v. Washington, 542 U.S. 296 (2004) precludes any

enhancement of his sentence. (Doc. 283). Although the holding of Blakely was not expressly made

applicable to the federal Sentencing Guidelines, a majority of the Supreme Court in United States

v. Booker extended to the federal Sentencing Guidelines the rule announced in Apprendi v. New

Jersey, 530 U.S. 466 (2000) and Blakely v. Washington, 542 U.S. 296 (2004): “that pursuant to the

Sixth Amendment, any fact, other than the fact of a prior conviction, ‘which is necessary to support

a sentence exceeding the maximum authorized by the facts established by a plea of guilty or a jury
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verdict must be admitted by the defendant or proved to a jury beyond a reasonable doubt.’” See In

re Elwood, 408 F.3d 211, 212 (5th Cir. Apr. 28, 2005) (quoting United States v. Booker, __ U.S. __,

125 S. Ct. 738, 756 (2005)). However, the Supreme Court in Booker expressly stated that its

holdings in the case were applicable only to “all cases on direct review.” Booker, 125 S.Ct. at 769.

Petitioner seeks this relief through collateral review. Therefore, neither Blakely nor Booker can be

applied retroactively to defendant’s sentence and conviction. See In re Elwood, 408 F.3d 211.

Accordingly, the Court ORDERS that Petitioner’s Motion Seeking Permission to Supplement

Pending § 2255 Motion to Vacate (Doc. 280) be DENIED.

       After carefully considering the record and the applicable law, the Court concludes that

Petitioner’s Motion to Vacate, Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255

(Doc. 270) should be DENIED and the Government’s Motion to Dismiss (Doc. 273) should be

GRANTED. Accordingly, this action is DISMISSED WITH PREJUDICE. With the exception

of the Magistrate Judge’s reasoning for her recommendation that Petitioner’s Motion to Supplement

the Pending § 2255 Motion to Vacate, the Court adopts the Magistrate Judge’s Memorandum and

Recommendation (Doc. 285) in full.

       SIGNED at Houston, Texas, this 20th day of October, 2005.



                                      ______________________________________
                                               MELINDA HARMON
                                        UNITED STATES DISTRICT JUDGE
